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                 UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                               Case No. 06-cr-97-01-03/06-SM

Edward Cervantes Arias,
Leslie B. Smith, Allen R. Hall,
Allen R. Bailey and Terri Hodgkins

                                    ORDER

      Defendant Terri Hodgkins’s motion to continue the final pretrial

conference and trial is granted (document no. 74). Defendant Hodgkins has

filed a waiver of speedy trial. Trial has been rescheduled for the December

2007 trial period.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference: November 26, 2007 at 2:00 p.m.

      Jury Selection: December 4, 2007 at 9:30 a.m.
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      SO ORDERED.



                                  ____________________________
                                    Steven J. McAuliffe
                                    Chief Judge


August 27, 2007

cc:   Paul Garrity, Esq.
      Stanley Norkunas, Esq.
      Paul Pappas, Esq.
      Richard N. Foley, Esq.
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      Michael Sheehan, Esq.
      Clyde R.W.Garrigan, AUSA
      US Probation
      US Marshal




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